Case L:2a-ov-11795FADF, tfocyment 2 Filed 11/04/21 Page 1 of 26
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From: Linda Fantasia - To: bmoc54@verizon.net - Cc: - Date: October 21, 2020 at 12:51 PM

Hi Mike. Thank you for your comments. Navigating the COVID Pandemic has been difficult. t will forward you request
to the Board of Health and the COVID Task Force for consideration. | understand that people may have different
opinions on the what to do about COVID, but | would hope that Carlisle residents would behave in a non-judgmental
way when dealing with people not wearing masks.

Linda Fantasia

Health Agent

Town of Carlisle

66 Westford Street

Carlisle MA 01741

(978) 369-0283

Please be advised that ail email sent and received
through the Town of Carlisle system may be
considered part of the public record.

Due to unprecedented public health conditions at this time, non-emergency Health Department responses may be
delayed. We will provide responses as soon as possible and appreciate your patience.

From: Mike Bush <bmocS4@verizon.net>

Sent: Tuesday, October 20, 2020 9:11 AM

To: Linda Fantasia <Ifantasia@carlislema.gov>
Subject: Shifting to a healthier response to COVID-19

Hi Linda,
| hope you're well.

Fortunately my impression has been that we have handled COVID-19 in Carlisle with less strife than some other MA towns
and cities. But there are some aspects in which we could be doing better.

I've been concerned that signs on town property and town Web pages such as https://www.carlislema.gov/902/Hazardous-
Waste-Collection-2020 have contributed to harassment of and discrimination against those with conditions that make it
inappropriate for them to wear face coverings—a violation of the Americans with Disabilities Act as well as basic decency.
Those signs and messaging have also misled people as to what Governor Baker’s COVID-19 orders actually state for indoor
and outdoor mask use. | can attest that even out in fresh open air I've been harassed at the transfer station for not wearing a
face mask (not by staff but by a resident). So at a minimum | ask that the inaccurate signs and messaging be removed at this
time.

Additionally, this month thousands of physicians including epidemiologists and public health specialists have signed the
Great Barrington Declaration, which was co-authored by a professor of medicine at Harvard University here in

MA. https://gbdeclaration.org It clearly articulates that we need to end the oppressive measures in response to COVID-19
that have done more harm than good to our people and society and instead shift to protecting the most vulnerable while
having most people interact freely and normally to facilitate natural herd immunity.

The shutting of and restrictions imposed on our school, town buildings, and businesses needs to end, as do mask mandates.
Though people can of course be allowed to wear masks if they wish, the preponderance of evidence clearly shows they don't
actually reduce the spread of flu or COVID-19 infections https://swors.org/face-masks-evidence/

 

| have also communicated these points to our legislators and officials at the state level. But | wanted to provide this input at
our town level as well so that:

1. We now remove the signs and town messaging regarding masks that have been misleading and harmful
2. We shift to a healthier response to COVID-19 and future viruses in accordance with the more sound guidance in the
Great Barrington Declaration (as soon as state requirements allow us to)
Kind Regards,
Mike Bush
280 Lowell Street
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From: Martha Feeney-Patten - To: Linda Fantasia, bmoc54@verizon.net - Ce: - Date: March 22, 2021 at 2:49 PM

Hi, Mike,

Thank you for your comments. As Linda said, we will continue to follow the Governor's orders and CDC
advisories, while looking forward to being more fully open in the future. To help replace a little bit of the
experience of browsing and chatting about books with staff, we are offering book bundles:

 

We'd also be happy to send you pictures of what's on the shelf in our new book section or other areas that
you're interested in, or chat about what you're looking for by phone or over Zoom. Let me know if you'd be
interested in any of that.

Best regards,

 

 

From: Linda Fantasia <lfantasia@carlislema.gov>

Sent: Monday, March 22, 2021 2:28 PM

To: Mike Bush <bmocS4@verizon.net>; Martha Feeney-Patten <mpatten@gleasonlibrary.org>
Subject: RE: We want to fully enjoy Gleason Library again

Hi Mike - | am sharing your comments with the Board of Health. | believe that Carlisle will continue to follow the
Governor’s Orders and CDC Advisories. We would all like to return to a more “normal” lifestyle — but safely.

Linda Fantasia

Health Agent

Town of Carlisle

66 Westford Street

Carlisle MA 01741

(978) 369-0283

Please be advised that all email sent and received
through the Town of Carlisle system may be
considered part of the public record.

From: Mike Bush [mailto:bmoc54@verizon.net]

Sent: Monday, March 22, 2021 1:05 PM

To: Martha Feeney-Patten; Linda Fantasia

Subject: We want to fully enjoy Gleason Library again

Hi Martha & Linda,
| hope you're well and prospering in 2021.
Just wanted to share a few positive thoughts and input about the library and town as well as our response to COVID-19.

My wife and | moved to Carlisle three years ago and love both the town and the library. We enjoy and appreciate the online
services and curbside pickup of materials that have been provided over the past year. We also really enjoyed stopping in,
browsing, researching, and chatting before the library was closed to varying degrees to COVID-19. | also still get a kick out of
walking or driving by and reading the witticisms posted on the sign out front. “No pop up ads in books” and “was reading the
dictionary and thought it was a poem” ones still make me grin.

Face masks are medically inappropriate for me, as they are for some other adults and children as well. Though the
governor’s COVID orders regarding face masks do allow for such exemptions, some businesses and facilities in MA have
been understanding and others have not over the past year. It's been saddening and stressful to be harassed or
discriminated against in buildings and even out in open fresh air in Carlisle over the past year.

As Harvard University’s professor of medicine and infectious disease expert Dr. Martin Kulldorff has wisely reminded us over
the past year, the oppressive measures we have used in MA are ineffective at controlling COVID-19 while at the same

 
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Case 1:21-cv-11794-ADB Document 1-2 Filed 11/04/21 Page 3 of 26

you or others are concerned about COVID-19, | do sympathize. | just wanted to share some feedback and a broader
perspective that | hope the town and library can incorporate.

Kind Regards,
Mike Bush

https:/Awitter.com/MartinKulldorff/status/1 37 14335894983843897s=20
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From: Gleason Public Library, Carlisle - - Date: August 31, 2021 at 3:05 PM

Share this: |. w fin

 

LIBRARY LATEST

 

FROM THE DIRECTOR

Thank you to everyone who helped make our "Tales and Tails" summer reading program fun for all ages, including
our youth services librarians Jenn and Tahleen; our teen volunteers and pages; the Friends of Gleason Public
Library and the Susan Zielinski Natural Science Fund; and everyone who participated in the reading challenges or
enjoyed an event!

We are excited to be headed into the fall, with back-to-school, a Gleason Endowment fundraiser, and a busy lineup
of programs coming up. Read on below for all the details.

-Martha

LIBRARY HOURS

The Library is open without having to make an appointment. Masks are still required for all visitors age 2 and up, in
consideration of our high usage by as-yet-unvaccinated children and medically vulnerable individuals. Please
contact us at 978-369-4898 or director@gleasonlibrary.org with any questions.

The Library will be closed on Saturday, September 4 and Monday, September 6 in observance of Labor Day.
The Library returns to regular Saturday hours, 10 a.m. to 5 p.m., starting Saturday, September 11.

Library Hours:

Monday, Tuesday, and Thursday: 10 a.m. to 9 p.m.
Wednesday: 1 p.m. to 9 p.m.

Friday: 10 a.m. to 5 p.m.

Saturday: 10 a.m. to 5 p.m.

NEW HOT SPOTS AVAILABLE FOR LENDING . /
We have added 5 T-Mobile T9 Hotspots to our collection. This was made possible by the Massachusetts Board of
Library Commissioners. You can reserve one through the catalog or by calling the Library at (978) 369-4898.

Our policy and procedures can be found by clicking here, and you can request one now by searching our catalog
for "hotspot".
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AUGUST 04, 2021

 

Eradication of Covid Is a Dangerous and Expensive Fantasy; It seemed to
work in New Zealand and Australia, but now ruinous, oppressive lockdowns

By Jay Bhattacharya and Donald J.
Boudreaux

Much of the pathology
underlying Covid policy arises from the
fantasy that it is possible to eradicate
the virus. Capitalizing on pandemic
panic, governments and compliant
media have used the lure of zero-Covid
to induce obedience to harsh and
arbitrary lockdown policies and
associated violations of civil liberties.

Among all countries, New
Zealand, Australia and especially China
have most zealously embraced zero-
Covid. China’s initial lockdown in Wuhan
was the most tyrannical. It infamously
locked people into their homes, forced
patients to take untested medications,
and imposed 40-day quarantines at

gunpoint.

On March 24, 2020, New Zealand
imposed one of the most onerous
lockdowns in the free world, with sharp
restrictions on international travel,
business closures, a prohibition on going
outside, and official encouragement of
citizens to snitch on neighbors. In May
2020, having hit zero-Covid, New
Zealand lifted lockdown restrictions,
except quarantines for international
travelers and warrantless house searches
to enforce lockdown.

Australia also took the zero-
Covid route. While the initial steps
focused on banning international travel,
the lockdowns there also involved closed
schools, occasional separation of mothers
from premature newborns, brutal
suppression of protests, and arrests for
wandering more than 3 miles from home.

New Zealand’s and Australia’s
temporary achievement of zero-Covid
and China's claimed success were greeted
with fanfare by the media and scientific
journals. China’s authoritarian response
seemed so _ successful—despite the
country’s record of lying about the
virus—that panicked democratic

are back.

governments around the world copied it.
The three countries lifted their
lockdowns and celebrated.

Then, when Covid came back, so
did the lockdowns. Each government has
had multiple opportunities to glory in
achieving zero-Covid by _ hairshirt.
Australia’s current lockdowns in Sydney
are now enforced by military patrols
alongside strict warnings from health
officials against speaking with neighbors.
After Prime Minister Boris Johnson
announced that the U.K. must “learn to
live with” the virus, New Zealand's
minister for Covid-19 response, Chris
Hipkins, imperiously responded, “That’s
not something that we have been willing
to accept in New Zealand,”

Humanity’s unimpressive track
record of deliberately eradicating
contagious diseases warns us_ that
lockdown measures, however draconian,
can’t work. Thus far, the number of such
diseases so eliminated stands at two—
and one of these, rinderpest, affected
only even-toed ungulates. The lone
human infectious disease we've
deliberately eradicated is smallpox. The
bacterium responsible for the Black
Death, the 14th-century outbreak of
bubonic plague, is still with us, causing
infections even in the U.S.

While the eradication of
smallpox—a virus 100 times as deadly as
Covid—was an impressive feat, it
shouldn't be used as a precedent for
Covid. For one thing, unlike smallpox,
which was carried only by humans,
SARS-CoV-2 is also carried by animals,
which some hypothesize can spread the
disease to humans. We will need to rid
ourselves of dogs, cats, mink, bats and
more to get to zero.

For another, the smallpox vaccine
is incredibly effective at preventing
infection and severe disease, even after
exposure to disease, with protection
lasting five to 10 years. The Covid
vaccines are far less effective at
preventing spread.

And smallpox eradication

required a concerted global effort lasting
decades and unprecedented cooperation
among nations. Nothing like this is
possible today, especially if it requires a
perpetual lockdown in every country on
earth. That’s simply too much to ask,
especially of poor countries, where
lockdowns have proved devastatingly
harmful to public health. If even one
nonhuman reservoir or a single country
or region that fails to adopt the program,
zero-Covid would fail.

The costs of any eradication
program are immense and must be
justified before the government pursues
such a goal. These costs include a
sacrifice of non-health-related goods
and services and other health priorities—
forgone prevention and treatment of
other diseases. The consistent failure of
government officials to recognize the
harms of lockdowns—often citing the
precautionary principle—disqualifies
Covid as a candidate for eradication.

The only practical course is to live
with the virus in the same way that we
have learned to live over millennia with
countless other pathogens. A focused
protection policy can help us cope with
the risk. There is a _thousand-fold
difference in the mortality and
hospitalization risk posed by virus to the
old relative to the young. We now have
good vaccines that have helped protect
vulnerable people from the ravages of
Covid wherever they have been deployed.
Offering the vaccine to the vulnerable
everywhere, not the failed lockdowns,
should be the priority to save lives.

We live with countless hazards,
each of which we could but sensibly
choose not to eradicate. Automobile
fatalities could be eradicated by
outlawing motor vehicles. Drowning
could be eradicated by outlawing
swimming and bathing. Electrocution
could be eradicated by outlawing
electricity. We live with these risks not
because we’re indifferent to suffering but
because we understand that the costs of
zero-drowning or zero-electrocution

 

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Case 1:21-cv-11794-ADB Document 1-2 Filed 11/04/21 Page 6 of 26

would be far tco great. The same is true
of zero-Covid.

Dr. Bhattacharya is a professor of
medicine at Stanford and a research
associate at the National Bureau of
Economic Research. Mr. Boudreaux is a
professor of economics at George Mason
University.

Eradication of Covid Is a
Dangerous and Expensive Fantasy

 

 
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Office of
estar? SS BOARD OF HEALTH
, ines - 66 Westford Street Tel.: (978) 369-0283
. an - Carlisle, MA 01741 Fax: (978) 369-4521
MEMORANDUM
To: Carlisle Select Board
Town Administrator
Town Counsel
From: Carlisle Board of Health
Tony Mariano, Chairman
Date: August 26, 2021
In Re: Town of Carlisle Face Mask Mandate

 

Acting under its authority stated in Mass. General Laws, Chapter Ill, Section 31, the Carlisle Board of Health
at a duly posted public meeting held on August 25, 2021, unanimously voted as follows:

In response to the recent increase in positive COVID-19 cases in Carlisle and throughout Middlesex
County, including break-through cases among those who have been fully vaccinated, the Carlisle
Board of Health hereby adopts an indoor face mask mandate for all indoor public spaces, or
private spaces open to the public within the Town of Carlisle except where an individual is unable
to wear a face mask due to a medical condition or disability and in employee's private work space
where face masks are encouraged. This mandate will be revisited by the Board of Health in early
October, 2021. :

Massachusetts General Laws Chapter 111, Section 104 permits “the selectmen and the board of health
[to] use all possible care to prevent the spread of [an] infection” that is dangerous to public health. The
Board of Health therefor requests that the Carlisle Select Board also issue an emergency declaration for
the implementation of a local face mask mandate within the Town of Carlisle.*

 

1 See Massachusetts General Laws Chapter 111, Sections 31 and 104
Case 1:21-0v-11794-ADB. ppt brent f Filed 11/04/21 Page 8 of 26
|

Michael Bush

280 Lowell Street
Carlisle MA 01741

PRIORITY MAIL

September 7, 2021

Timothy Goddard

Town of Carlisle Administrator & ADA Coordinator

66 Westford Street

Carlisle MA 01741

NOTICE OF CLAIM PURSUANT TO M.G.L. CH. 260 AND 42 U.S.C. § 1983 AND
DEMAND FOR RESOLUTION

Administrator & ADA Coordinator Goddard:

This letter constitutes a Notice of Claim for unlawful conduct by town of Carlisle personnel,
violations of civil rights pursuant to 42 U.S.C. § 1983 and Massachusetts General Laws Chapter
260 §5B as well as demand for resolution within the next fifteen (15) days. This letter is being
mailed and/or delivered to you as the prospective respondents, pursuant to the Massachusetts
Civil Rights Act.

We are concerned by the town of Carlisle’s violations of applicable civil rights laws, improper
promotion of misleading propaganda, the Board of Health and Select Board overstepping their -
authority, and those transgressions’ adverse impacts on us and others.

The Gleason Public Library’s current mask policy published on its website (enclosed as Exhibit
1) states that, “Masks are required out of consideration for our high usage by children who are
not yet able to be vaccinated.” And a recent edition of the library’s email newsletter to
subscribers (enclosed as Exhibit 2) states that, “Masks are still required for all visitors age 2 and
up, in consideration of our high usage by as-yet-unvaccinated children and medically vulnerable
individuals.”

Such a policy implies that:

Page 1 of 6
Case 1:21-cv-11794-ADB Document 1-2 Filed 11/04/21 Page 9 of 26

Mucnael busn
280 Lowell Street
Carlisle MA 01741

1. Library personnel know and assume responsibility for the medical conditions,
vaccination status. medical vulnerabilities, and medical needs of each individual in the
library, and ,

2. By wearing masks, persons protect others from airborne germs from which certain
unspecified vaccinations could otherwise protect those other people.

It is unreasonable and unwarranted for library or other town personnel to assume or claim that
they know the medical conditions, vaccination status, medical vulnerabilities, and medical needs
of each person in the library or other town facilities. By creating and/or implementing such a
policy, the town and its personnel have effectively assumed responsibility and liability for
infections and resulting illnesses that persons may contract in the library.

Additionally, on the town’s website www.carlislema.gov, a pop up window displays stating that
effective September 1, 2021 the Carlisle Board of Health has issued an “indoor face mask
mandate for all indoor public spaces, or private spaces open to the public within the Town of
Carlisle except where an individual is unable to wear a face mask due to a medical condition or
disability and in employee’s private work space where face masks are encouraged.” This
announcement is also posted at https://www.carlislema.vov/CivicA lerts.aspx?AlD=220 (See
Exhibit 3 enclosed.)

The website’s face mask policy announcement claims that the Board of Health issued the face
mask mandate with the concurrence of the Carlisle Select Board. The statute the website’s
announcement cites for the Board of Health’s order is M.G.L. Ch. 111 § 104. That statute does
not give the Board of Health or Select Board the authority to mandate the use of face masks.
That statute merely authorizes the “selectmen and board of health” to “give public notice of
infected places.” It does not give the Select Board or Board of Health the authority to issue
widespread notices of infection that are not specific to a particular place. It certainly does not
give the authority to mandate or recommend the use of medical procedures or devices, such as
face masks.

Additionally, the logic for the unlawful face mask mandate the Carlisle Board of Health has
issued with the concurrence of the Select Board is fundamentally flawed. It implies that the
mandate is only temporary, while COVID-19 exists. The virus associated with the infectious
disease COVID-19—SARS-CoV-2—mutates readily to evade suppression by vaccines, is
airborne and highly transmissible, and has non-human animal reservoirs. Hence, similar to the
annual influenza virus that has existed for over a century, SARS-CoV-2 cannot be eradicated and
COVID-19 will be a part of life indefinitely. !

On the website’s COVID-19 page at https://www.carlislema.gov/845/Coronavirus-COVID-19
(see Exhibit 4 enclosed), it refers to the Massachusetts Department of Public Health’s latest mask
advisory. Yet the page misleadingly lists places that mask advisory “requires” people to be
masked while omitting the fact that Massachusetts advisory also states that: “The following
persons are exempt from the face coverings requirement:

e Children under 5 years old.

Page 2 of 6
Case 1:21-cv-11794-ADB Document 1-2 Filed 11/04/21 Page 10 of 26

Michael Bush
280 Lowell Street
Carlisle MA 01741

e Persons for whom a face mask or covering creates a health risk or is not safe because of
any of the following conditions or circumstances:

othe face mask or covering affects the person’s ability to breathe safely;

© the person has a mental health or other medical diagnosis that advises against
wearing a face mask or covering;

© the person has a disability that prevents them from wearing a face mask or
covering; or

othe person depends on supplemental oxygen to breathe.”

By requiring persons to wear masks without having specified that those masks be tested,
effective, or approved for the function of preventing the spread of infections, the town of Carlisle
has made false and misleading claims. The U.S. Food and Drug Administration’s (FDA)
Emergency Use Authorization (EUA) for surgical and/or cloth masks requires that, “The product
is not labeled in such a manner that would misrepresent the product’s intended use; for example,
the labeling must not state or imply that the product is intended for antimicrobial or antiviral
protection or related uses or is for use such as infection prevention or reduction.”

The statute granting the FDA the power to authorize a medical product for emergency use
requires that the person being administered the product be advised of his or her right to refuse
administration of the product. This statute further recognizes the well-settled doctrine that
medical experiments, or “clinical research,” may not be performed on human subjects without
the express, informed consent of the individual receiving treatment. As C.F.R. § 50.20 states,
“An investigator shall seek such consent only under circumstances that provide the prospective
subject or the representative sufficient opportunity to consider whether or not to participate and
that minimize the possibility of coercion or undue influence. The information that is given to the
subject or the representative shall be in language understandable to the subject or the
representative.”

The COVID-19 page on the Carlisle website links to a document titled Understanding Masks To
Protect Children Against COVID-19 (enclosed as Exhibit 5). That document is misleading in a
number of respects. First, the title and theme of it implies that children need protection from
COVID-19, which is false. * (See Exhibit 6 enclosed.) Influenza presents a minuscule mortality
risk to children in the first place, yet COVID-19 presents even less of a risk to children than
influenza does. Second, the document implies that putting masks that do not block viruses on
children protects children from COVID-19. That is illogical and nowhere in that document was
that assertion truly substantiated. Instead, the basis of the document was speculation and wishful
thinking. While much pseudoscience has been quoted in that document and elsewhere to suggest
wearing masks to prevent viral respiratory infections, truly relevant facts and the most credible
scientific studies reveal that masks are not effective for prevention of the spread of COVID-19 3.
Additionally, wearing masks has known harms to children and adults 4 "45, For the town of
Carlisle to publish or promote such phobia-mongering, specious propaganda as that document is

an egregious misuse of taxes and town resources. We as residents and taxpayers do not consent
to that.

Page 3 of 6
Case 1:21-cv-11794-ADB Document 1-2 Filed 11/04/21 Page 11 of 26

Michael Bush
280 Lowell Street
Carlisle MA 01741

The fact is, masks are not approved to prevent the spread of viral respiratory infections. An EUA
from the FDA, mentioned above, is for products of an investigational or experimental nature.
The town’s and Gleason Library’s websites policies and COVID pages failed to disclose that the
mask requirement and advisory is experimental and that wearing masks is known to be harmful.

As Article II of the Constitution of the Commonwealth of Massachusetts states, “no subject shall
be hurt, molested, or restrained, in his person, liberty, or estate, for worshipping God in the
manner and season most agreeable to the dictates of his own conscience. . 2 Some religions,
creeds, physical disabilities, and/or mental disabilities prohibit or contraindicate the wearing of
masks or face coverings or the partaking of vaccinations. Therefore, the town’s published mask
policies violate both our Massachusetts Constitutional rights as well as M.G.L. Chapter 272 §
92A, which prohibits public accommodations from depriving people of any, “religious sect,
creed... deafness or blindness, or any physical or mental disability” of the “full enjoyment of the
accommodations, advantages, facilities or privileges offered to the general public.” Further, the
statute states that, “Any person who shall violate any provision of this section, or who shall aid
in or incite, cause or bring about, in whole or in part, such a violation shall be punished by a fine
of not more than one hundred dollars, or by imprisonment for not more than thirty days, or both.”

Michael Bush informed town of Carlisle personnel Board of Health Agent Linda Fantasia and
Gleason Public Library Director Martha Feeney-Patten via email in March 2021 that because of
such propaganda and longstanding face mask policies put forth by the town, he had been
subjected to harassment and unlawful discrimination. Both Board of Health Agent Fantasia and
Director Feeney-Patten replied to Mr. Bush’s message, acknowledging his concerns yet
providing no resolution in accordance with the law.

We will no longer tolerate such callous, unlawful discrimination by town entities or personnel.
Nor will we tolerate the Select Board or Board of Health overstepping their authority. As these
mask policies have violated our and others’ federal and Massachusetts civil rights, pursuant to
M.G.L. Ch. 265 Section 37, Select Board members, Board of Health staff and members, library
personnel, or any other personnel communicating or implementing such unlawful policies may
each personally be, “fined not more than one thousand dollars or imprisoned not more than one
year or both; and if bodily injury results, shall be punished by a fine of not more than ten
thousand dollars or by imprisonment for not more than ten years, or both.”

The mask policies are in violation of Title 18 U.S.C. § 242 - Deprivation Of Rights Under Color
Of Law. Personnel having created, communicated, or attempted to enforce such policies in
violation of civil rights laws may be charged and/or sued for such violation(s) pursuant to Title
42 U.S.C. § 1983 - Civil Rights Action For Deprivation Of Rights.

We therefore demand that within the next fifteen (15) days the town of Carlisle:
1. Rescind and remove the above-identified misleading and unlawful documents and
policies pertaining to face masks and vaccinations,
2. The Board of Health inform businesses open to the public in town of that face mask
mandate’s rescission and that no one may be denied entry or service due to their

Page 4 of 6
Case 1:21-cv-11794-ADB Document 1-2 Filed 11/04/21 Page 12 of 26

Michael Bush
280 Lowell Street
Carlisle MA 01741

religious sect, deafness or blindness, or any physical or mental disability that keeps them
from wearing a face mask and they are not to be questioned about It,

3. Notify the Carlisle Mosquito newspaper of the rescission of the policies,

4. And choose either of the following:

a. Ifthe town and its personnel wish to assume legal liability for airborne viral
infections, the harassment such a policy causes people, as well as the harms of
masks. issue a town policy (1) suggesting people wear masks in town facilities
with the acknowledgment that masks are experimental and have known and
unknown harms (2) acknowledging that masks are not approved by the FDA to
prevent infections, and (3) regardless of whether people wear masks or have been
vaccinated, they shall not be questioned or approached about either and shall be
afforded full enjoyment of the accommodations, advantages, facilities or
privileges offered to the general public, or

b. Ifthe town and its personnel prefer to avoid collective and/or personal legal
liability for harassment, airborne viral infections, discrimination, unlawful
actions, and harms related to masks or vaccinations, simply refrain from issuing
rules, policies, mandates, or advisories regarding masks or vaccinations and
refrain from communicating or attempting to implement any other entities’ such
mandates, advisories, etc.

Should you fail to provide the demanded relief within fifteen days, we may collectively and/or
individually pursue the remedies available to us in preserving our legal rights and obtaining
monetary and/or other redress. You may respond in writing to us collectively using Michael
Bush’s name and address.

Sincerely,

Michael] Bush
280 Lowell Street

Carlisle MA 01741

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80 Wildwood Drive

Carlisle MA 01741

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Michael Bush
280 Lowell Street

Carlisle MA 01741
Linda Taylor ‘A
879 Concord Street adeK ~
Carlisle MA 01741
Anita Opitz

51 Bingham Road NS ‘yy
Carlisle MA 01471 r- I

Monica Granfield ANA ‘ =
110 Carlisle Pines Drive YWICA (y VA ads a d
Carlisle MA 01741

Ian Sampson
315 Fiske Street
Carlisle MA 01741

Wojciech Krajewska, Andrea Krajewska & Sharon Madeiro
89 Robbins Drive

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Page 6 of 6
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LOI /

Michael Bush
280 Lowell Street
Carlisle MA 01741

PRIORITY MAIL

September 7, 2021

Martha Feeney-Patten
Director

Gleason Public Library
22 Bedford Road
Carlisle MA 01741

NOTICE OF CLAIM PURSUANT TO M.G.L. CH. 260 AND 42 U.S.C. § 1983 AND
DEMAND FOR RESOLUTION

Director Martha Feeney-Patten:

This letter constitutes a Notice of Claim for unlawful conduct by town of Carlisle personnel,
violations of civil rights pursuant to 42 U.S.C. § 1983 and Massachusetts General Laws Chapter
260 §5B as well as demand for resolution within the next fifteen (15) days. This letter is being
mailed and/or delivered to you as the prospective respondents, pursuant to the Massachusetts
Civil Rights Act.

We are concerned by the town of Carlisle’s violations of applicable civil rights laws, improper
promotion of misleading propaganda, the Board of Health and Select Board overstepping their
authority, and those transgressions’ adverse impacts on us and others.

The Gleason Public Library’s current mask policy published on its website (enclosed as Exhibit
1) states that, “Masks are required out of consideration for our high usage by children who are
not yet able to be vaccinated.” And a recent edition of the library's email newsletter to
subscribers (enclosed as Exhibit 2) states that, “Masks are still required for all visitors age 2 and

up, in consideration of our high usage by as-yet-unvaccinated children and medically vulnerable
individuals.”

Such a policy implies that:

Page | of 6
Case 1:21-cv-11794-ADB Document 1-2 Filed 11/04/21 Page 15 of 26

iviicnaei 5usn
280 Lowell Street

Carlisle MA 01741

1. Library personnel know and assume responsibility for the medical conditions,
vaccination status, medical vulnerabilities, and medical needs of each individual in the
library, and .

2. By wearing masks, persons protect others from airborne germs from which certain
unspecified vaccinations could otherwise protect those other people.

It is unreasonable and unwarranted for library or other town personnel to assume or claim that
they know the medical conditions, vaccination status, medical vulnerabilities, and medical needs
of each person in the library or other town facilities. By creating and/or implementing such a
policy, the town and its personnel have effectively assumed responsibility and liability for
infections and resulting illnesses that persons may contract in the library.

Additionally, on the town’s website www.carlislema.gov, a pop up window displays stating that
effective September 1, 2021 the Carlisle Board of Health has issued an “indoor face mask
mandate for all indoor public spaces, or private spaces open to the public within the Town of
Carlisle except where an individual is unable to wear a face mask due to a medical condition or
disability and in employee’s private work space where face masks are encouraged.” This
announcement is also posted at https://www.carlislema.gov/CivicAlerts.aspx?AlL=220 (See
Exhibit 3 enclosed.)

The website’s face mask policy announcement claims that the Board of Health issued the face
mask mandate with the concurrence of the Carlisle Select Board. The statute the website’s
announcement cites for the Board of Health’s order is M.G.L. Ch. 111 § 104. That statute does
not give the Board of Health or Select Board the authority to mandate the use of face masks.
That statute merely authorizes the “selectmen and board of health” to “give public notice of
infected places.” It does not give the Select Board or Board of Health the authority to issue
widespread notices of infection that are not specific to a particular place. It certainly does not
give the authority to mandate or recommend the use of medical procedures or devices, such as
face masks.

Additionally, the logic for the unlawful face mask mandate the Carlisle Board of Health has
issued with the concurrence of the Select Board is fundamentally flawed. It implies that the
mandate is only temporary, while COVID-19 exists. The virus associated with the infectious
disease COVID-19—SARS-CoV-2—mutates readily to evade suppression by vaccines, is
airborne and highly transmissible, and has non-human animal reservoirs. Hence, similar to the
annual influenza virus that has existed for over a century, SARS-CoV-2 cannot be eradicated and
COVID-19 will be a part of life indefinitely. '

On the website’s COVID-19 page at https://www.carlislema.gov/845/Coronavirus-COVID-19
(see Exhibit 4 enclosed), it refers to the Massachusetts Department of Public Health’s latest mask
advisory. Yet the page misleadingly lists places that mask advisory “requires” people to be
masked while omitting the fact that Massachusetts advisory also states that: “The following
persons are exempt from the face coverings requirement:

e@ Children under 5 years old.

Page 2 of 6
Case 1:21-cv-11794-ADB Document 1-2 Filed 11/04/21 Page 16 of 26

Michael Bush
280 Lowell Street
Carlisle MA 01741

e Persons for whom a face mask or covering creates a health risk or is not safe because of
any of the following conditions or circumstances:

© the face mask or covering affects the person’s ability to breathe safely;

o the person has a mental health or other medical diagnosis that advises against
wearing a face mask or covering;

othe person has a disability that prevents them from wearing a face mask or
covering; or

o the person depends on supplemental oxygen to breathe.”

By requiring persons to wear masks without having specified that those masks be tested,
effective, or approved for the function of preventing the spread of infections, the town of Carlisle
has made false and misleading claims. The U.S. Food and Drug Administration’s (FDA)
Emergency Use Authorization (EUA) for surgical and/or cloth masks requires that, “The product
is not labeled in such a manner that would misrepresent the product's intended use; for example,
the labeling must not state or imply that the product is intended for antimicrobial or antiviral
protection or related uses or is for use such as infection prevention or reduction.”

The statute granting the FDA the power to authorize a medical product for emergency use
requires that the person being administered the product be advised of his or her right to refuse
administration of the product. This statute further recognizes the well-settled doctrine that
medical experiments, or “clinical research,” may not be performed on human subjects without
the express, informed consent of the individual receiving treatment. As C.F.R. § 50.20 states,
“An investigator shall seek such consent only under circumstances that provide the prospective
subject or the representative sufficient opportunity to consider whether or not to participate and
that minimize the possibility of coercion or undue influence. The information that is given to the
subject or the representative shall be in language understandable to the subject or the
representative.”

The COVID-19 page on the Carlisle website links to a document titled Understanding Masks To
Protect Children Against COVID-19 (enclosed as Exhibit 5). That document is misleading in a
number of respects. First, the title and theme of it implies that children need protection from
COVID-19, which is false. ? (See Exhibit 6 enclosed.) Influenza presents a minuscule mortality
risk to children in the first place, yet COVID-19 presents even less of a risk to children than
influenza does. Second, the document implies that putting masks that do not block viruses on
children protects children from COVID-19. That is illogical and nowhere in that document was
that assertion truly substantiated. Instead, the basis of the document was speculation and wishful
thinking. While much pseudoscience has been quoted in that document and elsewhere to suggest
wearing masks to prevent viral respiratory infections, truly relevant facts and the most credible
scientific studies reveal that masks are not effective for prevention of the spread of COVID-19 3,
Additionally, wearing masks has known harms to children and adults 4 "45, For the town of
Carlisle to publish or promote such phobia-mongering, specious propaganda as that document is
an egregious misuse of taxes and town resources. We as residents and taxpayers do not consent
to that.

Page 3 of 6
Case 1:21-cv-11794-ADB Document 1-2 Filed 11/04/21 Page 17 of 26

Michael Bush
280 Lowell Street
Carlisle MA 01741

revent the spread of viral respiratory infections. An EUA
ducts of an investigational or experimental nature.
licies and COVID pages failed to disclose that the
1 and that wearing masks is known to be harmful.

The fact is, masks are not approved to p
from the FDA, mentioned above, is for pro
The town’s and Gleason Library's websites po
mask requirement and advisory is experimenta

As Article II of the Constitution of the Commonwealth of Massachusetts states, “no subject shall
be hurt, molested, or restrained, in his person, liberty, or estate, for worshipping God in the
manner and season most agreeable to the dictates of his own conscience... 2 Some religions,
creeds, physical disabilities, and/or mental disabilities prohibit or contraindicate the wearing of
masks or face coverings or the partaking of vaccinations. Therefore, the town’s published mask
policies violate both our Massachusetts Constitutional rights as well as M.G.L. Chapter 272 §
92A, which prohibits public accommodations from depriving people of any, “religious sect,
creed... deafness or blindness, or any physical or mental disability” of the “full enjoyment of the
accommodations, advantages, facilities or privileges offered to the general public.” Further, the
statute states that, “Any person who shall violate any provision of this section, or who shall aid
in or incite, cause or bring about. in whole or in part, such a violation shall be punished by a fine
of not more than one hundred dollars, or by imprisonment for not more than thirty days, or both.”

Michael Bush informed town of Carlisle personnel Board of Health Agent Linda Fantasia and
Gleason Public Library Director Martha Feeney-Patten via email in March 2021 that because of
such propaganda and longstanding face mask policies put forth by the town, he had been
subjected to harassment and unlawful discrimination. Both Board of Health Agent Fantasia and
Director Feeney-Patten replied to Mr. Bush’s message, acknowledging his concerns yet
providing no resolution in accordance with the law.

We will no longer tolerate such callous, unlawful discrimination by town entities or personnel.
Nor will we tolerate the Select Board or Board of Health overstepping their authority. As these
mask policies have violated our and others’ federal and Massachusetts civil rights, pursuant to
M.G.L. Ch. 265 Section 37, Select Board members, Board of Health staff and members, library
personnel, or any other personnel communicating or implementing such unlawful policies may
each personally be, “fined not more than one thousand dollars or imprisoned not more than one
year or both; and if bodily injury results, shall be punished by a fine of not more than ten
thousand dollars or by imprisonment for not more than ten years, or both.”

The mask policies are in violation of Title 18 U.S.C. § 242 - Deprivation Of Rights Under Color
Of Law. Personnel having created, communicated, or attempted to enforce such policies in
violation of civil rights laws may be charged and/or sued for such violation(s) pursuant to Title
42 U.S.C. § 1983 - Civil Rights Action For Deprivation Of Rights.

We therefore demand that within the next fifteen (15) days the town of Carlisle:
1. Rescind and remove the above-identified misleading and unlawful documents and
policies pertaining to face masks and vaccinations,
2. The Board of Health inform businesses open to the public in town of that face mask
mandate’s rescission and that no one may be denied entry or service due to their

Page 4 of 6
Case 1:21-cv-11794-ADB Document 1-2 Filed 11/04/21 Page 18 of 26

Michael Bush
280 Lowell Street
Carlisle MA 01741

religious sect, deafness or blindness, or any physical or mental disability that keeps them
from wearing a face mask and they are not to be questioned about it,

3. Notify the Carlisle Mosquito newspaper of the rescission of the policies,

4. And choose either of the following:

a. Ifthe town and its personnel wish to assume legal liability for airborne viral
infections, the harassment such a policy causes people, as well as the harms of
masks, issue a town policy (1) suggesting people wear masks in town facilities
with the acknowledgment that masks are experimental and have known and
unknown harms (2) acknowledging that masks are not approved by the FDA to
prevent infections, and (3) regardless of whether people wear masks or have been
vaccinated, they shall not be questioned or approached about either and shall be
afforded full enjoyment of the accommodations, advantages. facilities or
privileges offered to the general public, or

b. Ifthe town and its personnel prefer to avoid collective and/or personal legal
liability for harassment, airborne viral infections, discrimination, unlawful
actions, and harms related to masks or vaccinations, simply refrain from issuing
rules, policies, mandates, or advisories regarding masks or vaccinations and
refrain from communicating or attempting to implement any other entities’ such
mandates, advisories, etc.

Should you fail to provide the demanded relief within fifteen days, we may collectively and/or
individually pursue the remedies available to us in preserving our legal rights and obtaining
monetary and/or other redress. You may respond in writing to us collectively using Michael
Bush’s name and address.

Michael Bush
280 Lowell Street

Carlisle MA 01741

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80 Wildwood Drive

Carlisle MA 01741

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Page 5 of 6
Case 1:21-cv-11794-ADB Document 1-2 Filed 11/04/21 Page 19 of 26

Michael Bush
280 Lowell Street

Carlisle MA 01741
Linda Taylor
879 Concord Street - onde-K J
Carliske MA 01741,
Anita Opitz

51 Bingham Road
Carlisle MA 01471 r- a

Monica Granfield NA ‘
110 Carlisle Pines Drive CWICA ora ads d FI

Carlisle MA 01741

Jan Sampson
315 Fiske Street
Carlisle MA 01741

Wojciech Krajewska, Andrea Krajewska & Sharon Madeiro
89 Robbins Drive

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Page 6 of 6
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WICILAC!E DUST

280 Lowell Street
Carlisle MA 01741

PRIORITY MAIL

September 7, 2021

Linda Fantasia

Board of Health Agent
66 Westford Street
Carlisle MA 01741

NOTICE OF CLAIM PURSUANT TO M.G.L. CH. 260 AND 42 U.S.C. § 1983 AND |
DEMAND FOR RESOLUTION

Board of Health Agent Linda Fantasia:

This letter constitutes a Notice of Claim for unlawful conduct by town of Carlisle personnel,
violations of civil rights pursuant to 42 U.S.C. § 1983 and Massachusetts General Laws Chapter
260 §5B as well as demand for resolution within the next fifteen (15) days. This letter is being
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authority, and those transgressions’ adverse impacts on us and others.

The Gleason Public Library’s current mask policy published on its website (enclosed as Exhibit
1) states that, “Masks are required out of consideration for our high usage by children who are
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individuals.”

Such a policy implies that:

Page | of 6
Case 1:21-cv-11794-ADB Document 1-2 Filed 11/04/21 Page 21 of 26

Michael busn
280 Lowell Street
Carlisle MA 01741

1. Library personnel know and assume responsibility for the medical conditions,
vaccination status, medical vulnerabilities, and medical needs of each individual in the
library, and

2. By wearing masks, persons protect others from airborne germs from which certain
unspecified vaccinations could otherwise protect those other people.

It is unreasonable and unwarranted for library or other town personnel to assume or claim that
they know the medical conditions, vaccination status, medical vulnerabilities, and medical needs
of each person in the library or other town facilities. By creating and/or implementing such a
policy, the town and its personnel have effectively assumed responsibility and liability for
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give the authority to mandate or recommend the use of medical procedures or devices, such as
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disease COVID-19—SARS-CoV-2—mutates readily to evade suppression by vaccines, is
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persons are exempt from the face coverings requirement:

® Children under 5 years old.

Page 2? of 6
Case 1:21-cv-11794-ADB Document 1-2 Filed 11/04/21 Page 22 of 26

Michael Bush
280 Lowell Street
Carlisle MA 01741

e Persons for whom a face mask or covering creates a health risk or is not safe because of
any of the following conditions or circumstances:

o the face mask or covering affects the person’s ability to breathe safely;

o the person has a mental health or other medical diagnosis that advises against
wearing a face mask or covering;

othe person has a disability that prevents them from wearing a face mask or
covering; or

othe person depends on supplemental oxygen to breathe.”

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effective, or approved for the function of preventing the spread of infections, the town of Carlisle
has made false and misleading claims. The U.S. Food and Drug Administration’s (FDA)
Emergency Use Authorization (EUA) for surgical and/or cloth masks requires that, “The product
is not labeled in such a manner that would misrepresent the product’s intended use; for example,
the labeling must not state or imply that the product is intended for antimicrobial or antiviral
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The statute granting the FDA the power to authorize a medical product for emergency use
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COVID-19, which is false. *(See Exhibit 6 enclosed.) Influenza presents a minuscule mortality
risk to children in the first place, yet COVID-19 presents even less of a risk to children than
influenza does. Second, the document implies that putting masks that do not block viruses on
children protects children from COVID-19. That is illogical and nowhere in that document was
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thinking. While much pseudoscience has been quoted in that document and elsewhere to suggest
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Additionally, wearing masks has known harms to children and adults 4 "45, For the town of
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an egregious misuse of taxes and town resources. We as residents and taxpayers do not consent
to that.

Page 3 of 6
Case 1:21-cv-11794-ADB Document 1-2 Filed 11/04/21 Page 23 of 26

Michael Bush
280 Lowell Street
Carlisle MA 01741

The fact is, masks are not approved to prevent the spread of viral respiratory infections. An EVA
from the FDA, mentioned above, is for products of an investigational or experimental nature,
The town’s and Gleason Library's websites policies and COVID pages failed to disclose that the
mask requirement and advisory is experimental and that wearing masks is known to be harmful.

As Article II of the Constitution of the Commonwealth of Massachusetts states, “no subject shall
be hurt, molested, or restrained, in his person, liberty, or estate, for worshipping God in the
manner and season most agreeable to the dictates of his own conscience.. .”’ Some religions,
creeds, physical disabilities, and/or mental disabilities prohibit or contraindicate the wearing of
masks or face coverings or the partaking of vaccinations. Therefore, the town’s published mask
policies violate both our Massachusetts Constitutional rights as well as M.G.L. Chapter 272 §
92A, which prohibits public accommodations from depriving people of any, “religious sect,
creed... deafness or blindness, or any physical or mental disability” of the “full enjoyment of the
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statute states that, “Any person who shall violate any provision of this section, or who shall aid
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of not more than one hundred dollars, or by imprisonment for not more than thirty days, or both.”

Michael Bush informed town of Carlisle personnel Board of Health Agent Linda Fantasia and
Gleason Public Library Director Martha Feeney-Patten via email in March 2021 that because of
such propaganda and longstanding face mask policies put forth by the town, he had been
subjected to harassment and unlawful discrimination. Both Board of Health Agent Fantasia and
Director Feeney-Patten replied to Mr. Bush’s message, acknowledging his concerns yet
providing no resolution in accordance with the law.

We will no longer tolerate such callous, unlawful discrimination by town entities or personnel.
Nor will we tolerate the Select Board or Board of Health overstepping their authority. As these
mask policies have violated our and others’ federal and Massachusetts civil rights, pursuant to
M.G.L. Ch. 265 Section 37, Select Board members, Board of Health staff and members, library
personnel, or any other personnel communicating or implementing such unlawful policies may
each personally be, “fined not more than one thousand dollars or imprisoned not more than one
year or both; and if bodily injury results, shall be punished by a fine of not more than ten
thousand dollars or by imprisonment for not more than ten years, or both.”

The mask policies are in violation of Title 18 U.S.C. § 242 - Deprivation Of Rights Under Color
Of Law. Personnel having created, communicated, or attempted to enforce such policies in

violation of civil rights laws may be charged and/or sued for such violation(s) pursuant to Title
42 U.S.C. § 1983 - Civil Rights Action For Deprivation Of Rights.

We therefore demand that within the next fifteen (15) days the town of Carlisle:
1. Rescind and remove the above-identified misleading and unlawful documents and
policies pertaining to face masks and vaccinations,
2. The Board of Health inform businesses open to the public in town of that face mask
mandate’s rescission and that no one may be denied entry or service due to their

Page 4 of 6
Case 1:21-cv-11794-ADB Document 1-2 Filed 11/04/21 Page 24 of 26

Michael Bush
280 Lowell Street
Carlisle MA 01741

religious sect, deafness or blindness, or any physical or mental disability that keeps them
from wearing a face mask and they are not to be questioned about it,

3. Notify the Carlisle Mosquito newspaper of the rescission of the policies,

4. And choose either of the following:

a. Ifthe town and its personnel wish to assume legal liability for airborne viral
infections, the harassment such a policy causes people, as well as the harms of
masks, issue a town policy (1) suggesting people wear masks in town facilities
with the acknowledgment that masks are experimental and have known and
unknown harms (2) acknowledging that masks are not approved by the FDA to
prevent infections, and (3) regardless of whether people wear masks or have been
vaccinated, they shall not be questioned or approached about either and shall be
afforded full enjoyment of the accommodations, advantages, facilities or
privileges offered to the general public. or

b. Ifthe town and its personnel prefer to avoid collective and/or personal legal
liability for harassment, airborne viral infections, discrimination, unlawful
actions. and harms related to masks or vaccinations, simply refrain from issuing
rules, policies, mandates, or advisories regarding masks or vaccinations and
refrain from communicating or attempting to implement any other entities’ such
mandates. advisories, etc.

Should you fail to provide the demanded relief within fifteen days, we may collectively and/or
individually pursue the remedies available to us in preserving our legal rights and obtaining
monetary and/or other redress. You may respond in writing to us collectively using Michael
Bush’s name and address.

Michae! Bush
280 Lowell Street

Carlisle MA 01741

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80 Wildwood Drive

Carlisle MA 01741

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Page 5 of 6
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Michael Bush
280 Lowell Street

Carlisle MA 01741
Linda Taylor ~
879 Concord Street urd K
Carlisle MA 01741,
Anita Opitz

$1 Bingham Road .
Carlisle MA 01471 t- OM

Monica Granfield NA ‘ =
110 Carlisle Pines Drive YVWACK by, A ads ud df

Carlisle MA 01741

Ian Sampson
315 Fiske Street .
Carlisle MA 01741

 

Wojciech Krajewska, Andrea Krajewska & Sharon Madeiro
89 Robbins Drive

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Page 6 of 6
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From: Linda Fantasia - To: bmoc54@verizon.net - Cc: - Date: September 22, 2021 at 2:54 PM

| have received your ‘Notice of Claim Pursuant to M.G.L. Ch 260 and 42 U.S.C.~1983 and Demand For Resolution.”
Dated 9/7/21.

Linda Fantasia

Health Agent

Town of Carlisle

66 Westford Street

Carlisle MA 01741

(978) 369-0283

Please be advised that all email sent and received
through the Town of Carlisle system may be
considered part of the public record.

Due to unprecedented public health conditions at this time, non-emergency Health Department responses may be
delayed. We will provide responses as soon as possible and appreciate your patience.
